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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION


LUTHER ARTHUR HORN, III,
      Petitioner,

v.                                                   Case No. 3:20cv5101-LC-HTC

MARK S INCH,
      Respondent.

                                            /

                                      ORDER

      This cause comes on for consideration upon the magistrate judge’s Report and

Recommendation dated September 15, 2020 (ECF No. 14). The parties have been

furnished a copy of the Report and Recommendation and have been afforded an

opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1). I have made a de novo determination of the timely filed objection and its

supplement.

      Having considered the Report and Recommendation, and the objections

thereto, I have determined that the Report and Recommendation should be adopted.

      Accordingly, it is now ORDERED as follows:

      1.      The magistrate judge’s Report and Recommendation is adopted and

              incorporated by reference in this order.
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     2.    The motion to dismiss (ECF Doc. 11) is GRANTED, and the petition

           for writ of habeas corpus under 28 U.S.C. § 2254 (ECF Doc. 1) is

           DISMISSED WITHOUT PREJUDICE.

     3.    A certificate of appealability is DENIED.

     4.    The Clerk is directed to close the file.

     DONE AND ORDERED this 16th day of October, 2020.




                              s /L.A. Collier
                              LACEY A. COLLIER
                              SENIOR UNITED STATES DISTRICT JUDGE




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